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                          UN ITED STATES DISTRICT CO URT
                          SOU TH ERN DISTRICT OF FLORIDA

                            CA SE N O . 17.20275.CR.UN GAR0

    U N ITED STATES OF AM ERICA ,

           Plaintiff,


    K EVIN CHRISTOPH ER FU SCO ,

          Defendant.
                                    /

                             O RD E R O N D E FEN D A N T'S
                          M O TIO N TO D ISCH AR G E BO N D

          This m atter having com e before the Court on D efendant's M otion to

    Discharge Bond,and this Courthaving fully apprised in the prem ises, itishereby

          O R D ER ED and AD JU D G E D that the m otion is hereby GRAN TED    .   The
    personal surety bond which encum bers co-signer Tim ofey Kurilo and the property

    he posted on the bond, ishereby discharged.

          DONEandORDEREDatMiami,Florida,this/ dayofMarch,2018.

                                               U RSULA UN GARO
                                               U N ITED STATES D     TRICT JUD GE
    cc:   A1lparties ofrecord
